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                     UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON
                                                                 ,^
UNITED STATES OF AMERICA,                  Case   No.


     Plaintiff,                            INDICTMENT

                                           18 U. S. C. § 2252(a)(2)
           V.                              18 U. S. C. § 2252(a)(4) (B)
                                           FOREFEITURE

GEORGE M. GIBBS III,                                         MlGt1AEL4. NEWMOT
     Defendant.



The Grand Jury charges:

                         COUNTS ONE THROUGH THREE

                [18 U. S. C. §§ 2252(a)(2)     & 2252(b)(1)]

     On or about the dates set forth below, in the Southern

District of Ohio, defendant GEORGE M. GIBBS III knowingly and

intentionally distributed one or more visual depictions --

namely, the images depicted in the computer files identified

below with each file constituting a separate count -- using any

means and facility of interstate        and foreign commerce,       and which

visual depictions had been shipped and transported in and

affecting interstate     and foreign commerce,          and which visual

depictions contained materials which have been mailed and so

shipped and transported by any means including by computer, the

production of such visual depictions having involved the use of
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one or more minors engaging in sexually explicit conduct and

such visual depictions were of such conduct:


       COUNT            DATE                           FILE



ONE                11/25/2020      2d732b33-56dl-4fcc-a9d£
                                   08010ebf9711. mp4



 TWO               11/26/2020      596bd31d-le40-41ee-b353-
                                   fc2d5716cl87. mp4


 THREE             11/27/2020      6bd8eaal-7dee-44b7-96f0-
                                   405e02cf016d. mp4




        In violation of Title 18, United States Code, Sections

2252(a) (2)    & 2252 (b) (1) .




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                                  COUNT FOUR

                 [18 U. S. C. §§ 2252(a)(2)     & 2252 (b)(1)]

        On or about the date set forth below, in the Southern

District of Ohio, defendant GEORGE M. GIBBS III knowingly and

intentionally    received one or more visual depictions using any

means and facility of interstate         and foreign commerce,      and which

visual depictions had been shipped and transported in and

affecting interstate and foreign commerce, and which visual

depictions contained materials which have been mailed and so
shipped and transported by any means including by computer, the
production of such visual depictions having involved the use of
one or more minors engaging in sexually explicit conduct and

such visual depictions were of such conduct:


     COUNT             DATE                            FILE



 FOUR             7/17/2021         VID-20201008-WA0053.mp4



        In violation of Title 18, United States Code, Sections

2252(a) (2) & 2252 (b) (1) .




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                                     COUNT FIVE

                [18 U. S. C. §§ 2252(a)(4)(B)       & 2252 (b) (2) ]

     On or about August 27,           2021,   in the Southern District     of

Ohio^ defendant GEORGE M. GIBBS III knowingly and intentionally

possessed matter      containing      one or more visual     depictions   --

namely, images in digital files -- that had been mailed and

shipped and transported using a means and facility of interstate

and foreign commerce and in and affecting             commerce,    and which

were produced using materials           which had been mailed and so

shipped and transported by any means including a computer, the

production of such visual depictions having involved the use of

one or more minors engaging in sexually explicit               conduct,   and

such visual     depictions   were of such conduct.

     It is further alleged that one or more visual depictions

involved   in the offense involved a prepubescent             minor or a minor

who had not attained 12 years of age.

     In violation of Title 18, United States Code, Sections

2252(a)(4)(B)     & 2252 (b) (1) .




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                           FORFEITURE ALLEGATION

     Upon conviction of any offense set forth in Counts One

through Five of this Indictment, defendant GEORGE M. GIBBS III

shall forfeit to the United States pursuant to 18 U. S. C.

§ 2253 (a):   (1) any visual depiction described in section 2251,

2251A, 2252, 2252A, 2252B or 2260 of Chapter 110 of Title 18 of

the United States Code, or any book, magazine, periodical/ film,

videotape or other matter which contains any such visual

depiction,    which was produced,     transported,    mailed,    shipped or

received in violation of Chapter 110 of Title 18 of the United

States Code;    (2) any property,     real or personal,      constituting     or

traceable to gross profits or other proceeds obtained from such

offense(s); and (3) any property, real or personal, used or

intended to be used to commit or to promote the commission of

such offense(s) or any property traceable to such property,

including but not limited to the following:

     .   Western Digital WD My Passport 2626 portable hard drive,
         serial number WX22AA094YJV, 2 TB;
     .   Four Micro SD cards,      2 GB;
     .   SanDisk Ultra SD card,       128 GB 3D card;
     .   Acer laptop. Model N17P6, Serial #NXH3GAA00183701EFD7200,
         and power cord; and
     .   Samsung Galaxy A51 cellular telephone bearing Model SM-
         A515U1, serial number R58N5387G8Z, and IMEI number
         354563110435640.




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                            SUBSTITUTE ASSETS


     If any of the property described above, as a result of any

act or omission of the defendant:

     a.   cannot be located upon the exercise of due diligence;

    b.    has been transferred or sold to,         or deposited with, a

          third party;

     c.   has been placed beyond the jurisdiction of the court;

     d.   has been substantially diminished in value; or

     e    has been commingled with other property which cannot be

          divided without difficulty,




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it is the intent of the United States, pursuant to 21 U. S. C.

§ 853(p), as incorporated by 18 U. S. C. § 2253(b), to seek
forfeiture of any other property of the defendant, up to the

value of the property described above.



                                           A TRUE BILL




                                           Forepe son



VI PAL J.   PATEL
Acting United States Attorney



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 RENT G. TABACCHI
Assistant    United   States   Attorney




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